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                            Exhibit 40




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 1                       UNITED STATES DISTRICT COURT
 2                      CENTRAL DISTRICT OF CALIFORNIA
 3
 4       YUGA LABS, INC.,                        )
                                                 )
 5                         Plaintiff,            )
                                                 )
 6       vs.                                     )Case No.
                                                 )2:22-cv-04355-JFW-JEM
 7       RYDER RIPPS and JEREMY                  )
         CAHEN,                                  )
 8                                               )
                           Defendants.           )
 9       ____________________________)
10
11
12                                  CONFIDENTIAL
13                VIDEOTAPED DEPOSITION OF RYAN HICKMAN
14                  Taken on Wednesday, December 7, 2022
15         By a Certified Stenographer and Legal Videographer
16                                  At 9:11 a.m.
17                  At 9275 West Russell Road, Suite 240
18                             Las Vegas, Nevada
19
20
21
22
23                      Stenographically reported by:
24                Holly Larsen, NV CCR 680, CA CSR 12170
25

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 1       and SAS model in the sense of it's really
 2       software-oriented, not here's an NFT, click a mint
 3       button, and hopefully there's enough speculation and
 4       hype that everybody minted at that moment.                       Market
 5       makers come in -- this wasn't being treated as a
 6       meme coin, as they say, a token.                  It was being
 7       treated as something that was a little more involved
 8       than that.
 9             Q.        Do you have an idea what happened on or
10       about June 2, 2022, that led to the increase in
11       mints?
12             A.        I don't remember.
13                       (Exhibit 25 marked.)
14       BY MS. CULP:
15             Q.        Do you know what Exhibit 25 is?
16             A.        I don't.      I know it's a smart contract.
17       I don't know which one.
18             Q.        The bottom right tracker says "Bored Ape
19       Yacht Club."
20                       Do you see that?
21             A.        Yes.
22             Q.        What does "Bored Ape Yacht Club" refer
23       to?
24             A.        The name that's placed in the token
25       tracker.

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 1             Q.        And the name of this token tracker is
 2       Bored Ape Yacht Club?
 3             A.        Correct.
 4             Q.        And in the community of people who buy
 5       NFTs, what is Bored Ape Yacht Club?
 6             A.        It is an NFT -- it's an NFT.
 7             Q.        Made by who?
 8             A.        Made by Yuga Labs.
 9             Q.        In parentheses it says "BAYC."
10                       Do you see that?
11             A.        Yes.
12             Q.        What does "BAYC" refer to?
13             A.        Initials of Bored Ape Yacht Club.
14             Q.        It's an acronym for the Bored Ape Yacht
15       Club NFT made by Yuga Labs?
16             A.        Correct.
17                       (Exhibit 26 marked.)
18       BY MS. CULP:
19             Q.        Do you see Exhibit 26?
20             A.        Yes.
21             Q.        It's a Twitter page, Ape Market?
22             A.        Uh-huh.
23             Q.        And if you look down, looks like three
24       tweets, where it says "Get ready"?
25             A.        Okay.

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 1             Q.        And then the "deeds," what is that?
 2             A.        The other deeds made by Yuga Labs.
 3                       (Exhibit 27 marked.)
 4       BY MS. CULP:
 5             Q.        What is Exhibit 27?
 6             A.        RR/BAYC.com -- a printout from
 7       RR/BAYC.com.
 8             Q.        Obviously not the full printout because
 9       there were 10,000 ape images on the website;
10       correct?
11             A.        Correct.
12             Q.        At the very top there's the URL, and
13       we've talked about the domain already; correct?
14             A.        Yes.
15             Q.        Then immediately below that there is a
16       logo; correct?
17             A.        Correct.
18             Q.        What logo is that?
19             A.        That is the protest logo that Ryder
20       created.
21             Q.        The "RR/BAYC" below that refers to Ryder
22       Ripps/Bored Ape Yacht Club, right below the logo?
23             A.        It stands for RR/BAYC, yes.
24             Q.        And all of the images, the ape images
25       that are on the URL, those are the ape images that

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 1       point -- that Yuga Labs' BAYC tokens point to and
 2       also the RR/BAYC tokens point to?
 3             A.        That several collections point to, yes.
 4             Q.        And the numbering is the same?
 5             A.        The numbers are -- I believe the numbers
 6       are referenced the same, yes.
 7             Q.        Between the BAYC and the RR/BAYC
 8       collections?
 9             A.        Correct, yes.         The data from OpenSea
10       populated in the form.
11             Q.        There's a Proton mail account referenced
12       right below -- right above Mr. Ripps' name,
13       RRBAYC@protonmail.com.
14                       Do you see that?
15             A.        Yes.
16             Q.        Did you ever have access to that email
17       account?
18             A.        No.
19             Q.        Have you ever seen any emails that have
20       come in or out of that email account?
21             A.        What do you mean by seen emails?
22             Q.        Like we've seen some examples in Discord
23       where people have screenshotted things and added
24       them to the chat.
25                       Have you ever seen anything that appears

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 1       to have come from that email account?
 2             A.        I believe there might have been a
 3       screenshot from somebody who stumbled on this site
 4       and linked to some additional literature in support
 5       of the protest.
 6             Q.        Nothing else that you can recall in or
 7       out of the email account?
 8             A.        No.
 9             Q.        Following down now, I'm right below
10       Mr. Ripps' name.        It says "Reserve apes."
11                       Do you see that?
12             A.        Yes.
13             Q.        What does "apes" refer to?
14             A.        The racist monkey pictures.
15             Q.        The images that are shown at the bottom
16       of Exhibit 27 and continuing on?
17             A.        Correct.
18             Q.        Those are an ape?
19             A.        Correct.      Those are a type of ape.                 Ape
20       in the bigger context of crypto or the bigger
21       context of degen finance refers to a behavior.
22             Q.        Right below that there's a box that says
23       "Enter ape ID"?
24             A.        Uh-huh.
25             Q.        And the ID -- the ape ID that you would

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 1       enter would be the number for that particular ape
 2       that is associated with that image for the BAYC NFT
 3       and that same number for the RR/BAYC NFT?
 4             A.        Incorrect.       The form connects to
 5       OpenSea.     You type in a number, and it looks up the
 6       OpenSea API and gives back the ID of the BAYC.                         And
 7       the Foundation contract that operates in a different
 8       sequence of token numbers takes the next available
 9       token number and assigns the next available token
10       number to whatever the person selected.
11                       So let's say if 300 of these things were
12       already minted and I chose Number 1, I wouldn't
13       receive Number 1.        I would receive an image that
14       OpenSea designated as Number 1.                   Associated to my
15       token it would be Number 301.
16             Q.        So the ape ID refers to the BAYC token
17       ID number?
18             A.        Ape refers to the data that OpenSea
19       gives, yes.
20             Q.        For the BAYC NFT?
21             A.        Correct.
22                       (Exhibit 28 marked.)
23       BY MS. CULP:
24             Q.        Do you have Exhibit 28 in front of you?
25             A.        Yes.

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 1             Q.        Have you seen a version of 28 before?
 2             A.        Yes.
 3             Q.        What is Exhibit 28 an image of?
 4             A.        This is the Foundation website.
 5             Q.        For what?
 6             A.        Looks to be Bored Ape Yacht Club.
 7                       No, this is the -- this is the -- it
 8       looks like it's Ryder's page.                Yeah.      This is the
 9       Foundation of Ryder's -- the beginning of cannot
10       copy an NFT.
11             Q.        You're sure -- you took a look at it --
12       that this is the Foundation page for Mr. Ripps'
13       Bored Ape Yacht Club?
14             A.        Yes.    You base everything on the
15       numbers, the names.         You just -- I've actually never
16       been to the page, but I can obviously look and tell.
17       I see Ryder's face here.            I see the amount.              The
18       collections has 80 people.              There's only 60 holders.
19       There's no -- barely -- volume.                   So I know that this
20       is not the Yuga Labs Bored Ape Yacht Club.
21             Q.        How do you know that by the collection
22       where it says collection of 80 that it's not Yuga
23       Labs' Bored Ape Yacht Club?
24             A.        Everybody that trades NFT goes through a
25       cycle where you learn what these things are, and

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  1              A.      To flip, I don't know specifically.                      I
  2       know he holds -- he administrates the contract.                         But
  3       in terms of, like, flipping them, I don't know.
  4              Q.      You haven't had that conversation with
  5       him?
  6              A.      No.
  7              Q.      Have you had that conversation with
  8       Mr. Cahen, about his sort of intentions to flip
  9       RR/BAYC NFTs?
 10              A.      I believe -- I believe I've been a part
 11       of discussions.       I don't specifically remember the
 12       details because this isn't about flipping NFTs to
 13       me.     This is about securities, race, anti-Semitism,
 14       and getting a message out, you know.                   If you go
 15       through my Twitter, it's largely consistent with
 16       this thought process.
 17                      But I don't recall.               I do -- I don't
 18       recall specifically.         I'd have to research it.
 19              Q.      Do you think buyers of NFTs need to do
 20       their due diligence before they purchase them?
 21              A.      Absolutely.
 22              Q.      Why?
 23              A.      Because the companies that issue these
 24       things are very ephemeral in their setup unless they
 25       catch headwinds.       And we've seen that for almost two

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  1       years now.
  2                      The group that brought us together
  3       through Alex Xu, he minted something.                    He walked
  4       away with several millions of dollars and abandoned
  5       the project.      We as a community worked together to
  6       build things to help the community benefit from
  7       that.     And that's been, like, a consistent theme.
  8       And projects -- this is what projects do.                      They make
  9       promises of roadmaps, they make promises of building
 10       all kinds of different things, and they don't
 11       deliver on them.
 12                      It's important that a person, no
 13       different than they would buy a latte, to do
 14       adequate research to make sure that the milk in the
 15       latte is good or the employees that work there have
 16       good intentions and aren't putting poison in the
 17       coffee.     It's no different here, especially in a
 18       speculative market, especially when the onboarding
 19       of getting into this culture has everything to do
 20       with preparing yourself from a security point of
 21       view.
 22                      You go through a rigorous process to get
 23       your crypto in.       You go through a rigorous process
 24       to protect your wallets and assets.                   And you go
 25       through a learning experience to learn what these

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  1       things are and learn what not to do and what to look
  2       for.
  3                      It has everything to do with checking
  4       Etherscan.     It has everything to do with looking at
  5       the numbers, checking and verifying the accounts,
  6       and maintaining a consistency on that.                    So doing
  7       your own research is absolutely critical.
  8                      And it's a key message, a key messaging
  9       technique that all the influencers and everybody
 10       that has a share of voice uses in this industry.
 11              Q.      Do you think that's true for purchasers
 12       of RR/BAYC NFTs on a secondary marketplace, that
 13       they too needed to do their due diligence before
 14       they bought one?
 15              A.      Any NFT, yes.
 16                        (Exhibit 46 marked.)
 17       BY MS. CULP:
 18              Q.      Do you recognize Exhibit 46?
 19              A.      Yes.
 20              Q.      What is it?
 21              A.      It's a tweet that I made.
 22              Q.      And what did you mean in the tweet in
 23       particular at the top, "People sold this dream.
 24       People who bought it didn't DYOR.                  The truth is it's
 25       a hard pill for many to swallow"?

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  1              Q.         I appreciate your answer.
  2                         Were you primarily responsible for
  3       putting together Ape Market, whatever sort of
  4       technology was needed to implement the marketplace?
  5              A.         I wouldn't necessarily say responsible
  6       for.        I would say that I had built a marketplace --
  7       three different marketplaces over the course of
  8       time, and I just had familiarity with how they
  9       function.        And, yeah, I wouldn't say necessarily
 10       responsible.
 11              Q.         If it wasn't you, who was on the
 12       technical side of things bearing the main
 13       responsibility for Ape Market?
 14              A.         I mean, I believe it would have
 15       ultimately landed in some type of collaboration.                           I
 16       didn't build the Phunks original market, and they
 17       launched that market very successfully.                      So I think
 18       it's a matter of just coordination.
 19              Q.         Can you pull up Exhibit 9 again?                  This
 20       is the Discord between you and Mr. Lehman.                       It's one
 21       of the thicker ones, if that helps.
 22              A.         All right.
 23              Q.         So I first want to direct your attention
 24       to a 6th of June message from Mr. Lehman on the
 25       second page.

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  1            A.        Yes.
  2            Q.        Towards the bottom, at 12:35 p.m. he
  3       says, "How do you want to handle the next phase of
  4       Ape Market?      I want to help work on it, but I don't
  5       have the code of course."
  6                      Do you see that?
  7            A.        Yes.
  8            Q.        So as of the 6th of June, from a coding
  9       perspective for Ape Market you were still the
 10       primary person responsible for putting it together?
 11            A.        Again, it's a coordination.                   The
 12       marketplaces are built.            They are -- it's a
 13       configuration.        You take any address and you put it
 14       in the URL and it will load the experience.                        I have
 15       a marketplace on Puzleworld.com, and I can just
 16       change the URL and it will put whatever collection I
 17       want in the marketplace.
 18                      So it's more of a let's review that code
 19       and let's put that on a private server and explore
 20       what we're going to do from there.                   Do we want to
 21       build a lot?      Do we want to build a little?
 22                      If you look in this chat, you'll see the
 23       XO Apes reference there.            The XO Apes is showing one
 24       use case of designing it such that it works, but
 25       there's no volume.         I believe during this time there

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  1       was some other examples that I shared.                    I don't know
  2       if they're in here.
  3                      Oh, on the 23rd of June at 3:33, there's
  4       the Reservoir use case.           There's no code.             If you go
  5       to Reservoir's website and you click "Download" and
  6       you click "Deploy," you'll literally have an Ape
  7       marketplace.      It's their default use case.                  And a
  8       default use case is where the dropdown comes from in
  9       that UI.     They are getting the data from everywhere,
 10       primarily OpenSea, and they're populating it with
 11       the logos; they're populating it with the text.
 12       That's a large driver for where all of these design
 13       patterns come from.        It's a large driver for where
 14       this code base comes from.
 15                      This dialogue here is just really a
 16       discovery process.        As creators, that's what we do;
 17       move it left, move it right, add text here and
 18       there.     Everybody pitches in and contributes some
 19       type of idea, ultimately to come to a conclusion on
 20       what we feel the best user experience should be or
 21       could be.
 22            Q.        I appreciate that.
 23                      Going back to Mr. Lehman's message on
 24       the 6th of June, is it fair to say that he's
 25       offering to help but says he can't because he

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  1       doesn't have the code of course?
  2              A.        In that -- in the moment of that -- in
  3       the context of that specific moment, sure.                       But on
  4       the 23rd he deployed the Reservoir case.                      Again,
  5       it's a discovery piece.            He's never built a
  6       marketplace, so he doesn't know where to begin.
  7       Through this process we discussed different
  8       strategies.       We discussed what the possibilities
  9       are.
 10                        You know, just the following day, I
 11       believe, the following day -- no, the same -- yeah,
 12       the following -- sorry.            I'm getting the 22nd mixed
 13       up.     It's my wife's birthday.             June 22nd is my
 14       wife's birthday, so it's confusing.                    I guess a few
 15       weeks later he ended up deploying that version
 16       of it.
 17              Q.        I was going to direct your attention
 18       next to the 21st of June message from Mr. Lehman.
 19       "How can I help with the market?                  I still need the
 20       code.       Ha, ha.   It's getting close."
 21                        At least as of the 21st of June he's
 22       communicating from a technical perspective he's
 23       looking for you to provide some code so he can help
 24       with Ape Market?
 25              A.        Correct.

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  1              Q.         Technically, as of the 21st of June
  2       you're the primary person that's working on Ape
  3       Market?
  4              A.         That's fair to say.             That's fair to say.
  5              Q.         On the 22nd of June, Mr. Lehman writes,
  6       "I must admit I'm getting nervous about my ability
  7       to be useful on this without the code and so close
  8       to launch."
  9                         Do you see that?
 10              A.         Uh-huh.
 11              Q.         Was there a launch date planned as of
 12       the 22nd of June?
 13              A.         There wasn't a date.             But what we
 14       communicated publicly, once we hit 10,000 of the
 15       RR/BAYC, all of them, then we'll put the marketplace
 16       out.        And there was a rapid increase in volume on
 17       the -- I don't know the specific date.                     But I'll
 18       call it the first day of ApeFest.                   Somebody made a
 19       documentary and released a documentary, and the
 20       documentary was seen by millions of people and it
 21       really amplified the mission.                It amplified the
 22       narrative.        It created a lot of visibility into all
 23       of this.        And there were nearly 3,000, I believe, or
 24       more reservations all within in that first hour or
 25       so.     And we went from, you know, kind of going

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  1       really slow and we'd seen we had a nice horizon in
  2       front of us to, wow, it feels like it's days away.
  3                      I don't remember the specific day of the
  4       first day of ApeFest, but I know specifically that
  5       Monday because I was in Orlando traveling back.                         I
  6       landed, and my phone exploded with messages and
  7       notifications.
  8            Q.        Did you have any contribution to that
  9       documentary you just referenced?
 10            A.        No.    Zero.
 11            Q.        Did Mr. Ripps?
 12            A.        I know that he -- somebody called him
 13       and asked him for a clip, and he spoke to somebody
 14       over the phone, and they used the conversation
 15       that -- I don't know who the person is.                     They
 16       recorded the conversation and used that at the
 17       beginning of the documentary.
 18            Q.        Do you know if Mr. Cahen had any
 19       contribution to the documentary?
 20            A.        I don't believe so, no.
 21            Q.        Do you know if Mr. Lehman did?
 22            A.        I don't believe so, no.
 23            Q.        Same exhibit, which is 9.                 There's a
 24       call on the 23rd of June between you and Tom Lehman.
 25       Given that we're in your Discord, it's just the two

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  1                     CERTIFICATE OF REPORTER
  2       STATE OF NEVADA     )
                              )SS
  3       COUNTY OF CLARK     )
  4            I, Holly Larsen, a duly certified court
          reporter licensed in and for the State of Nevada, do
  5       hereby certify:
  6            That I reported the taking of the deposition of
          the witness, Ryan Hickman, at the time and place
  7       aforesaid;
  8            That prior to being examined, the witness was
          by me duly sworn to testify to the truth, the whole
  9       truth, and nothing but the truth;
 10            That I thereafter transcribed my shorthand
          notes into typewriting and that the typewritten
 11       transcript of said deposition is a complete, true,
          and accurate record of testimony provided by the
 12       witness at said time to the best of my ability.
 13            I further certify (1) that I am not a relative
          or employee of counsel of any of the parties; nor a
 14       relative or employee of the parties involved in said
          action; nor a person financially interested in the
 15       action; nor do I have any other relationship with
          any of the parties or with counsel of any of the
 16       parties involved in the action that may reasonably
          cause my impartiality to be questioned; and (2) that
 17       transcript review pursuant to FRCP 30(e) was
          requested.
 18
               IN WITNESS HEREOF, I have hereunto set my hand
 19       in the County of Clark, State of Nevada, this 21st
          day of December, 2022.
 20
 21
 22
 23
 24                          <%14915,Signature%>
 25                          HOLLY LARSEN, CCR NO. 680

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                                Veritext Legal Solutions
                                     866 299-5127
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                                       22 May 2022


           Hwonder                                                                      02:44

            0-.



                     AWBAYC



                   LVc




             C



                   Rmrv. 04!




           Idont like apes... but isure do like this                                    02:44


           Pauly Shore                                                                  09:01

           a 06


           Ryder Ripps                                                                  11:34

           lol

           whats the status on the tool                                                 11:34

           should ihold off minting more                                                11:35

           itll make it much easier                                                     11:35


           Pauly Shore                                                                  11:35

           Good morning

           We are still working on the main tool with the grid selector                 11:35



  S        Ryder Ripps                                    EXHIBIT
                                                                                        11:35

                                                          WITNESS:     d            0
                                                         DATE:
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           what about one with address input


           Pauly Shore                                                              11:36

           Ican have them work on it but Ithink overall it's better to prioritize the
           main iteration

           And keep slowly minting the orders                                       11:36

           My prediction is that the entire mint will be complete within 48 hours 11:36

           It will mint out very fast once we launch it                             11:37




  a
           Hwonder                                                                  19:39

                               I
                               PIA5 ,        T• nfl
                                              s r-ar-
                                                _


                      An




               FIa
                                        VS


               f
               tff
                  4


                   Oveday IN                   Below IN




           which layout                                                             19:39

           the left (overlaid ids)or right (where the ID is placed below)           19:39


           Ryder Ripps                                                              19:40

           a




  •
                                                                                    19:40
           Hwonder
           cool


           Ryder Ripps                                                              19:40

           what uthink




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                                   #:8195


           Hwonder                                                                   19:40

           ait is!


           Ryder Ripps                                                               19:40

           istill think it should list both nobers

           for ones that are taken                                                   19:40

           rr and bayc                                                               19:40


           Hwonder                                                                   19:41

           cool... we have the data... we'll come up with layout for it...


           Ryder Ripps                                                               19:42

           RR#5!YL#492




  •
                                                                                     19:59
           Hwonder
           perfect


           Pauly Shore                                                               20:05

           Iagree ryder Ilike A and Ithink having both numbers is dope

           it's gonna be a                                                           20:05


           Ryder Ripps                                                               20:52

           is batch minting possible

           might save gas?                                                           20:52


           Pauly Shore                                                               20:55

           Do you mean currently @ryderripps or on the tool we are testing with the
           grid for public mint?


           Ryder Ripps                                                               20:55

           both




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  Avatar Pauly Shore            30-May-22 12:58 PM

         Goal: mint out the remainder of the collection• incentivize people to use the marketplace, specifically the BAYC original side
         Ithink it would be very good to create asimple slide that shows the royalty structure with some of or RR/BAYC design elements
         -   69% royalties or whatever percent we decide
         -   Anyone who owns arr/bayc can use the marketplace
         -   fat finger protection /floor reserve            (edited)

         -   price increase       (edited)



[;,'Avatar hwonder       30-May-2201:O4PM

         fat finger floor reserve


t.-Avatar Pauly Shore           30-May-22 01:14 PM




                                        ApeMarket
                      .69% royalties? (Decide %) for RR/BAYC               +   BAYC (do
                  we let apes sell mutants and dogs and land too?)
                  -   Any rr/bayc owner can use the marketplace (token
                  gate      =   incentive to use)
                  -   fat finger protection! floor reserve
                  -   price increase          +   20% in anticipation of the market




                        1
                                                      wVr   lOdmq


                                                       ma,1,flnl.e.




         Iactually think its avery good idea to include every Yuga asset on our marketplace
         More royalties for us          +    more reason to own the rrbayc as aticket to use our®utility and save money   +   much larger audience

         More work for sure, but much higher likelihood of generating more royalties and users


sAvatar middlemarch.eth              30-May-22 01:31 PM

         Few thoughts on the wrapper as it was posted in the telegram:
         If we were to do it Ithink we would want different metadata in some way so it was less confusing (could perhaps include the word 'wrapped)

         But overall Ithink we should be very careful about doing this in terms of the confusion it will create
         Especially at atime when holder count and volume are important to us


iAvatar Pauly Shore             30-May-22 0133 PM

         idont want to start implementing awrapper


.'Avatar middlemarch.eth             30-May-22 01:33 PM

         Agreed


-Avatar Pauly Shore             30-May-22 0133 PM

         these users are too unsophisticated
         by far


,
v-Avatar middlemarch.eth             30-May-22 02:54 PM

         @hwonder Ithink Ihave afix for the events thing
         https://github.com/RogerPodacter/RRBAYC/pull/7O/files

         Want to step through it when you have amoment?


LAvatar middlemarch.eth              30-May-22 03:26 PM

         Ok boom now Ithink Ihave afix for the admin UI as well
                                                                                                                                       EXHIBIT        I   I
  Avatar middlemarch.eth             30-May-22 03:40 PM
                                                                                                                                       WITNESS:            }jflJA
                                                                                                                                       DATE
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          I'm going to "touch grass" for afew mins and then lets try to get this out! Ithink it is areal improvement. We don't need the "Loading" thing any
          more which Iknow @Pauly Shore never liked @hwonder


          tmistdIemarch.eth I'm going to 'touch grass' for afew min sand then let's try to get this out! Ithink it is area limprovement. We don't need the "loading" thing..
c:Avatar Pauly Shore           30-May22 03:45 PM

          That would be awesome

          Then hopefully tonight we can do some design work on ademo site of marketplace
          And get that slide out like this one




                                       ApeMarket
                   .69% royalties? (Decide %) for RRJBAYC                            +   BAYC (do
                  we let apes sell mutants and dogs and land too?)
                  -   Any rrjbayc owner can use the marketplace (token
                  gate     =   incentive to use)
                  -   fat finger protection jfloor reserve
                  -   price increase       +   20% in anticipation of the market




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                                                                    hhIi1
                                                                     aid haid
                                                                      if—



                           I-




L.'Avatar Pauly Shore          30-May'2203:S3PM

          Real time counter

         Of how much saved vs opensea or@looks rare
         On the ape side


L,Avatar Pauly Shore           30-May-22 04:08 PM

          Ryder wants to release bayc & mutants on the marketplace
         And Ithink it's agreat idea for the accouncement

          @hwonder ryder said to share whatever we can with him and he can mess with css design stuff etc

          Demo site tonight?


  Avatar Pauly Shore           30-May-2204:2SPM

         .1 kiaem F'0w57   ,   r;'p,    ;D.,m,aPai,i.ai,,taWwhai     •Aiflhi S       aatliltfl\LV.is'taa -Osa- Vi   Ui   .,U.,%5ti'i44e441165Ut01%ira,tS la,thi-iS5!ifU




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  Avatar hwonder       26-May-2210:06 AM

         we do not want a2e total volume marketplace


  Avatar middlemarch.eth        26-May-22 10:06 AM

         Yes true


[Avatar hwonder        26-May-2210:OÔAM

         ppl can trade on xyx2 and oother places today
         so it HAS to make sense for user to see agreater benefit



         with phunks... 0fee drew ppl in    ...   and early on the cargo back end made it a1time cost
         it was perfect perfect storm


  Avatar middlemarch.eth        26-May-2210:07 AM

         What was cargo backend?
         That's an existing market?
         So basically you didn't have to re-approve


 2Avatar hwonder       26-May-2210:09 AM

        yup.
         no cost for listing
         none of it.


[Avatar middlemarch.eth         26-May-2210:09 AM

        olee is also amazing marketing, it's true
         Like elevator pitch of NLL
         "0 fee"
        That's the pitch


 Avatar hwonder        26-May-2210:O9AM

        zero fee isn't sustainable


  Avatar middlemarch.eth        26-May-22 10:09 AM

        Agreed


 Avatar hwonder        26-May-22 10:09 AM
                                                                                            EXHIBIT
        zero fee isn't worth it
                                                                                            WITNESS:
  Avatar middlemarch.eth        26-May-2210:10 AM

        Agreed
        So what's the value!
        Making it feel customized, content-y things like the filtering /sorting idea Pauly mentioned last night




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         better gria
         More artistic presentation


  Avatar hwonder       26-May-2210:10 AM

         its not functionality that makes it better


  Avatar Pauly Shore      26-May-2210:10 AM

         Ithink that stuff is nice but it won't bring users


!Avatar hwonder        26-May-2210:11 AM

         it's about money


  Avatar Pauly Shore      26-May-22 10:11 AM

         Yes


  Avatar middlemarch.eth        26-May-2210:11 AM

         So how does listing here make me more money


L2Avatar Pauly Shore      26-May-2210:11 AM

         The thing is people will definitely want to flip their assets




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                                           #:8200
F


    O
        ryder   B    24-Jun-22 041i PM
        what should ide about this letter


          Th     las yang



        middlenntuych.eth 2 -Joe, 22 £407 PM
        lttrink this just in lormn us that sen Iseuld treat denronds Iron, Apydetco and I
                                                                                        hey were conning low Yoi

        Basically inst saying we hired these gays to harass youC
        front think tasks Os to do anything?
        With inspect to the erhayccum trademark issue Isay we maybe get some attention around it and how unfair ii is but ultimately take In, silo down probably
        Nut worth it, eociulty %jP we•re migrating oIl unyway

        yu, the new sitowe chante 11w lone, nod maybe eueo the display name in he market. 10K
        Olnesslalsitualiori for none, Iguess in the somewhat likely event they do sin us it's good lou it to be   In, soriielhiog that flakes them look the worst III our logo which could be coesidered confusing a'dour use at the 'BAYC taunt

        by 'our use°lmean the presence of those things ups webstlenrcontrol

        anpdnr B what should ide abeur this letter
        hwondo, 24.lser'1204 aorld
        this is madness
        aPualy Shore didn't tantcryntohirg help 00 with lawyer so phurks
        Ilike to confirm Because lte'sin lows and may be able to oryeditg utow olIn ,.. but want to tTiaiso sure it's all clear


        Chnn000er thin It mudness        .. *Peuly Shore didnt lusttrnylohinu brlp 00 with lawyer Or phunhs


    O
        Paulo Shore 2a-1,er.1acasnona
        No ho helped with something else but Ido not inca lilt boirgalawyer

        crystal is kenebi'o friend
        She was ihe allorugy ni pyunks Letters As sell
        Well

        acoder B wliui shnuld idu about ttoolettei
        Paulo 5hnre aa-i,u-≥2 tanursr
        Ithink we have soupe time to think on this sort of utnil

        And wormler all aspects
        No need to wake adecision an the spot Iwo we should hang mil Is some line to decide




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        We'mrclosi nt in on 520 mullion iunpac tto yaga


        4hwnnder Clearly Ih..a hius
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        Paulo Shore 14.hei-2flk25 PM
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        Paulo Shore ta-tier yt ow no nra
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                                                              #:8201




                                                 Letter of Authorization
                                                     March 21, 2022



          To Whom It May Concern:


                                          Letter of Authorization for Appdetex


          This letter confirms that Yuga Labs, Inc. has granted to Appdetex, and its officers, employees, or
          other representatives, the authority to represent Yuga Labs, Inc.'s interests with your
          organization, in protection of Yuga Labs, Inc.'s intellectual property assets, including protection
          of Yuga Labs, Inc.'s trademarks, copyrights, domain names, internet platforms, and other
          intellectual property (collectively, "Intellectual Property").


          The authority granted by Yuga Labs, Inc. to Appdetex includes: (1) the power to make
          representations about the status of Yuga Labs, Inc.'s Intellectual Property; (2) to act on behalf
          of Yuga Labs, Inc. in order to submit notices of intellectual property infringement, abusive
          conduct, or other malfeasance, nonfeasance, or misfeasance with respect to Yuga Labs, Inc.'s
          Intellectual Property; and (3) to otherwise enforce Yuga Labs, Inc.'s aforesaid rights in such
          Intellectual Property, whether through negotiations or administrative process.


          The powers granted to Appdetex through this document are revocable at will, and, unless
          earlier revoked, expire upon January 1, 2023.


          Signed by:



          Name: Nicole Muniz, CEO
          Yuga Labs, Inc.
          1430 S. Dixie Hwy, Ste. 105 10
          Coral Gables, FL 33146-3108




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Notary Events                                   Signature          Timestamp


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                                       #:8204
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Parties agreed to: Nicole Muniz




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    current system requirements are found here: https://support.docusign.comlguides/signer-guide-
    signing-system-requirements.



    Acknowledging your access and consent to receive and sign documents electronically

    To confirm to us that you can access this information electronically, which will be similar to
    other electronic notices and disclosures that we will provide to you, please confirm that you have
    read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
    your future reference and access; or (ii) that you are able to email this ERSD to an email address
    where you will be able to print on paper or save it for your future reference and access. Further,
    if you consent to receiving notices and disclosures exclusively in electronic format as described
    herein, then select the check-box next to 'I agree to use electronic records and signatures' before
    clicking 'CONTINUE' within the DocuSign system.

    By selecting the check-box next to 'I agree to use electronic records and signatures', you confirm
    that:

       • You can access and read this Electronic Record and Signature Disclosure; and
       • You can print on paper this Electronic Record and Signature Disclosure, or save or send
         this Electronic Record and Disclosure to alocation where you can print it, for future
         reference and access; and
       • Until or unless you notify AppDetex as described above, you consent to receive
         exclusively through electronic means all notices, disclosures, authorizations,
         acknowledgements, and other documents that are required to be provided or made
         available to you by AppDetex during the course of your relationship with AppDetex.




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                                      #:8207



[e7 Avatar Pauly Shore   19-May-2211:26 PM

          Awesome

          Had agood chat with Ryder




             O       Ape Market Bot
                      ApeMak?tBbt


              6t     Ape Market
              4a     @apemarketplace

          Ihave both these twitters


IAvatar hwonder       19-May-2211:28PM

          so its inverted? the skull


  Avatar Pauly Shore     19-May-2211:28 PM

          And we have the apemarketcom domain as well


          E?kQ&er so its inverted? the skull
  Avatar Pauly Shore     19-May-2211:28 PM

          Can easily be changed rhat was just pulled from the way old marketplace


  Avatar hwonder      19-May-2211:28 PM

          cool


[e71Avatar Pauly Shore   19-May-22 11:28 PM

          Ithink ryder needs to@decide on that stuff abit

          But he wants to@keep@it minimal

          He digs the NLL layout


[e'Avatar hwonder     19-May-22 11:29 PM

          ultra mm

          real bayc is ultra mm


  Avatar Pauly Shore     19-May-22 11:29 PM

          He thinks it would be cool@to have awhole page of apes small kinda like we have on NLL

          Could just be an exact copy maybe


I2Avatar hwonder      19-May-22 11:29 PM

          idid that before w/ nil




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                                     #:8208


1'1Avatar Pauly Shore   19-May-2211:29 PM

         Awesome!


  Avatar hwonder    19-May-22 11:29 PM

         nil/ape market




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